

Matter of Kayalionna S.C. (Jessica C.) (2021 NY Slip Op 00384)





Matter of Kayalionna S.C. (Jessica C.)


2021 NY Slip Op 00384


Decided on January 26, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 26, 2021

Before: Gische, J.P., Kern, Moulton, Shulman, JJ. 


Docket No. B-8567-17 Appeal No. 12946 Case No. 2019-04202 

[*1]In the Matter of Kayalionna S.C. Also Known as Kayalionna C., a Child Under the Age of Eighteen Years, etc., Jessica C., Respondent-Appellant, Cardinal McCloskey Services, Petitioner-Respondent.


Andrew J. Baer, New York, for appellant.
Rosin Steinhagen Mendel PLLC, New York (Melissa Wagshul of counsel), for respondent.
Dawne A. Mitchell, The Legal Aid Society, New York (Diane Pazar of counsel), attorney for the child.



Appeal from order of disposition, Family Court, Bronx County (David J. Kaplan, J.), entered on or about August 24, 2018, which, upon a finding of permanent neglect on default, terminated the mother's parental rights to the subject child and transferred custody of the child to petitioner agency and the Commissioner for the Administration for Children's Services for the purposes of adoption, unanimously dismissed, without costs, as moot.
The mother's appeal from the order of disposition that terminated her parental rights has been rendered moot by the child's subsequent adoption (see Matter of Alexis C. [Jacqueline A.], 99 AD3d 542, 543 [1st Dept 2012], lv denied 20 NY3d 856 [2013]). Were we to review the order on the merits, we would find that a preponderance of the evidence supports the court's finding that it was in the child's best interests to terminate the mother's parental rights and free her for adoption (id.). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 26, 2021








